           Case 1:16-vv-00207-UNJ Document 42 Filed 08/11/17 Page 1 of 2




        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-0207V
                                    Filed: February 13, 2017
                                         UNPUBLISHED

****************************
DANIEL MULVIHILL,           *
                            *
                Petitioner, *
v.                          *
                            *                              Attorneys’ Fees and Costs;
SECRETARY OF HEALTH         *                              Special Processing Unit (“SPU”)
AND HUMAN SERVICES,         *
                            *
                Respondent. *
                                                  *
****************************
John Howie, Jr., Howie Law, P.C., Dallas, TX, for petitioner.
Claudia Gangi, U.S. Department of Justice, Washington, DC, for respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS1

Dorsey, Chief Special Master:

        On February 10, 2016, Daniel Mulvihill (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 (the “Vaccine Act” or “Program”). Petitioner alleged that he
suffered a shoulder injury related to vaccine administration (“SIRVA”) caused-in-fact by
the influenza vaccination he received on November 26, 2014. Petition at 1, ¶ 17. On
December 16, 2016, the undersigned issued a decision awarding compensation to
petitioner based on respondent’s proffer to which petitioner agreed. (ECF No. 31).




1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
           Case 1:16-vv-00207-UNJ Document 42 Filed 08/11/17 Page 2 of 2



        On January 12, 2017, petitioner filed a motion for attorneys’ fees and costs.
(ECF No. 35). Petitioner requests attorneys’ fees in the amount of $14,966.00 and
attorneys’ costs in the amount of $635.17 for a total amount of $15,601.17. Id. at 1. In
compliance with General Order #9, petitioner has filed a signed statement indicating
petitioner incurred no out-of-pocket expenses. See General Order #9 Statement, filed
as the Second Attachment to Petitioner’s Motion for Attorneys’ Fees and Costs (ECF
No. 35). On January 30, 2017, respondent filed a response to petitioner’s motion.
(ECF No. 36.

        In her response, respondent argues that “[n]either the Vaccine Act nor Vaccine
Rule 13 contemplates any role for respondent in the resolution of a request by a
petitioner for an award of attorneys’ fees and costs.” Id. at 1. Respondent adds,
however, that she “is satisfied the statutory requirements for an award of attorneys’ fees
and costs are met in this case.” Id. at 2. Petitioner “respectfully recommends that the
Chief Special Master exercise her discretion and determine a reasonable award for
attorneys’ fees and costs.” Id. at 3. Petitioner filed no reply.

      The undersigned has reviewed the billing records submitted with petitioner’s
request. In the undersigned’s experience, the request appears reasonable, and the
undersigned finds no cause to reduce the requested hours or rates.

      The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§ 15(e). Based on the reasonableness of petitioner’s request, the undersigned
GRANTS petitioner’s motion for attorneys’ fees and costs.

      Accordingly, the undersigned awards the total of $15,601.173 as a lump
sum in the form of a check jointly payable to petitioner and petitioner’s counsel
John Howie, Jr.

        The clerk of the court shall enter judgment in accordance herewith.4

IT IS SO ORDERED.

                                                           s/Nora Beth Dorsey
                                                           Nora Beth Dorsey
                                                           Chief Special Master

3This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).

4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
